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          EXHIBIT B
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                                                IN THE CIRCUIT COURT OF THE 11TH
                                                JUDICIAL CIRCUIT, IN AND FOR
                                                MIAMI-DADE COUNTY, FLORIDA

                                                CASE NO. 2022-009415-CA-01 (44)

                                                COMPLEX BUSINESS LITIGATION
                                                DIVISION


  FRANCESCO LEFEBVRE D’OVIDIO,

                         Plaintiff,

  v.

  ROYAL CARIBBEAN CRUISES, LTD.,

                    Defendant.
  _______________________________________


                    DEFENDANT ROYAL CARIBBEAN CRUISES, LTD.’S
                       NOTICE OF FILING NOTICE OF REMOVAL

         PLEASE TAKE NOTICE that on May 26, 2022, Defendant Royal Caribbean Cruises,

  Ltd. removed this action to the Untied States District Court for the Southern District of Florida,

  by filing a Notice of Removal in that Court. A copy of the Notice of Removal is attached as

  Exhibit A. Accordingly, and under 28 U.S.C. § 1446(d), this Court may proceed no further

  unless and until the case is remanded.
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  DATED: May 26, 2022                     Respectfully submitted,


                                          QUINN EMANUEL URQUHART & SULLIVAN LLP

                                     By     /s/ Olga M. Vieira
                                        Olga M. Vieira (Fla. Bar No. 29783)
                                        Samuel G. Williamson (Fla. Bar No. 1033817)
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                                        Attorneys for Defendant Royal Caribbean Cruises, Ltd.


                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 26th day of May, 2022, a true and correct copy of the

  foregoing document was electronically filed, which will serve a Notice of Filing on all counsel of

  record, via the Court’s e-service system.

                                               By: /s/ Olga M. Vieira
                                               Olga M. Vieira
                                               Florida Bar No. 29783
                                               olgavieira@quinnemanuel.com
